     Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 1 of 10
                                                                                                  Electronically Submitted
                                                                                                       12/3/2018 9:38 AM
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                                               CL-1 8-6846-D
                                       CAUSE NO.

GLORIA G. VILLAREAL                                       IN THE COUNTY COURT
INDIVIDUALLY AND
A/N/F OF YX30:XXX VXMCXXXXX,
A MINOR,
GLORIA L. VILLAREAL,
INDIVIDUALLY AND
A/N/F OF DXXXX RX10000CXX,
A MINOR

VS.                                                      AT LAW NO.

MACY'S CORPORATE SERVICES,
 INC. A/K/A MACY'S
AND SCHINDLER
ELEVATOR CORPORATION                                  • • HIDALGO COUNTY, TEXAS

                   PLAINTIFFS' ORIGINAL PETITION AND JURY DEMAND

TO THE HONORABLE JUDGE:

 .         COMES NOW, GLORIA G. VILLARREAL INDIVIDUALLY AND A/N/F OF
VOCXXXX VXXICXXXXX, A MINOR AND GLORIA L. VILLARREAL, INDIVIDUALLY
AND A/N/F DXXXX Rxxxleoca, A MINOR, Plaintiffs, and hereby complain of MACY'S
CORPORATE SERVICES, INC. A/K/A MACY'S herein after referred to as Defendant(s)
MACY'S AND Defendant SCHINDLER ELEVATOR CORPORATION, and for cause of action
states:
                                                I.
                                          DISCOVERY PLAN

          Plaintiffs intend to conduct discovery under Level 2 of the Texas Rule of Civil Procedure 190.

                                                  IL
                                                PARTIES

          Plaintiffs reside in Edinburg, Hidalgo County, Texas.

          Defendant, MACY'S CORPORATE SERVICES, INC. A/K/A MACY'S, is a corporation

GLORIA G.VIULARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                                Pagel
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   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 2 of 10
                                                                       Electronically Submitted
                                                                                                    12/3/2018 9:38 AM
                                                                                             .    Hidalgo County Clerk
                                                                                         Accepted by: Ester Espinoza
                                             L-18-6846-0

formed under the laws of the State of Texas. Defendant's principal place of business is the State of

Texas. Defendant may be served with process by serving the Office of the Texas Secretary of

State as its agent for service at P. 0. Box 12079, Austin, Texas 78711-2079, Travis County,

Texas. The Office of the Texas Secretary of State may obtain service of process on Defendant for

service of process and maybe served by process by serving the registered agent, Corporate

Creations Network Inc. at 2425 W. Loop South #200, Houston, Harris County, Texas 77027.

      Defendant, SCHINDLER ELEVATOR CORPORATION, is a corporation formed under

the laws of the State of Texas. Defendant's principal place of business is the State of Texas.

Defendant may be served with process by serving the Office of the Texas Secretary of State as its

agent for service at P. 0. Box 12079, Austin, Texas 78711-2079, Travis County, Texas. The

Office of the Texas Secretary of State may obtain service of process on Defendant for service of

process and maybe served by process by serving the registered agent, CT Corp System at 1999

Bryan Street, Ste. 900, Dallas, Texas 75201.


                                                 m.
                                           VENUE
      Jurisdiction is proper in that the amount in controversy greatly exceeds the minimum

jurisdictional requirements of this Court.

      Pursuant to Section 15.001 et seq of the Texas Civil Practice and Remedies Code, venue is

proper in Hidalgo County in that all or part of this cause of action accrued in Hidalgo County, Texas.


                                                 Iy
                                   FACTUAL BACKGROUND

      On or about December 6, 2016, Plaintiffs, GLORIA G. VILLAREAL, VOCXXXX

GLORIA G. YIUARREAL
PIAINTIFFS ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                              Page 2
    Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 3 of Electronically
                                                                        10             Submitted
                                                                                                      12/3/2018 9:38 AM
                                                                                                    Hidalgo County Clerk
                                                                                            Accepted by: Ester Espinoza
                                           CLA 8-6846-D.

VX.3000000C AND DXXXX RXXXVOCXX were customers of Defendant MACY'S on

December 6, 2016. Defendant MACY'S has an elevator in it's store controlled and repaired by

Defendant SCHINDLER ELEVATOR CORPORATION. The property is located at 2100

South 10th Street, in McAllen, Hidalgo County, Texas. Defendant MACY'S, holding open its

premises for business and as a result of the purpose Plaintiffs, GLORIA G. VILLAREAL

YXXXXXX VXXX:101X,OC AND D2000C RXXXXXXXX'S visited such premises. Plaintiffs,

GLORIA G. VILLAREAL, YXXXXXX V3000000CX AND DXXXX RXXXXXXXX, were

at all times an invitee as that phrase is known in the law. Plaintiff GLORIA G. VILLAREAL was

taking v0000cx        romocxx and D300CX RXXXXXXXX to the escalator to head upstairs.
Plaintiffs,. GLORIA G. VILLARREAL, YXXXXXX V3000000C AND DXXXX

R.3000000(X, lost their balance and fell down the escalator due to the escalator shaking and

making a sudden jerking motion. As a result of Plaintiff's fell and they suffered serious bodily

injuries.

       Defendants SCHINDLER ELEVATOR CORPORATION AND MACY'S were the owners

and/or possessors and/or had control over the subject escalator where Plaintiffs fell.


                                V.
       NEGLIGENCE OF DEFENDANT MACY'S CORPORATE SEB VICES, INC.
                            AKA_MACY'S

       Plaintiffs brings this suit to recover for personal injuries sustained by Plaintiffs as a result of

a dangerous condition on Defendant MACY'S property. Defendant MACY'S was guilty of acts

and/or omissions which constituted negligence. These acts and/or omissions include, but are not

limited to, the following:

GLORIA G. VLUARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                                 Page 3
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 4 of 10
                                                                       Electronically Submitted
                                                                                                       12/3/2018 9:38 AM
                                                                                                     Hidalgo County Clerk
                                                                                            Accepted by: Ester Espinoza
                                           CL-1 8-6846-D

      1.       Defendant failed to maintain a safe premises for its patrons;

      2.       Defendant failed to inspect the premises for potential hazards which could result in
               damages to its patrons;

      3.       Defendant failed to maintain the premises to avoid potential hazards to its patrons;

      4.       Defendant failed to warn its patrons of potential hazards; and

      5.      _Defendant knew or should have known of the hazard on its premises and did nothing
              to correct it..


                                                  VI.
     NEGLIGENCE OF DEFENDANT SCMNDLER ELEVATOR CORPORATION

      Plaintiff's brings this suit to recover for personal injuries sustained by Plaintiffs as a result of

a dangerous condition on Defendant SCHINDLER ELEVATOR CORPORATION'S property.

Defendant SCHINDLER ELEVATOR CORPORATION was guilty of acts and/or omissions

which constituted negligence. These acts and/or omissions include, but are not limited to, the

following:

      1.      Defendant had a duty to use ordinary care to ensure the escalator did not present a
              danger to Plaintiffs. This duty includes the duty to inspect and the duty to warn.

      2.       Defendant failed to inspect the premises for potential hazards which could result in
               damages to its patrons;

      3.      Defendant failed warn Plaintiffs of the condition and failed to make the condition
              reasonably safe;

      4.      Defendant knew or reasonably should have known of the condition of the escalator
              that posed an unreasonable risk;

      5.      Defendants' breach of duty proximately caused injury to Plaintiffs



      At the time and on the occasion in question, Plaintiffs, GLORIA G. VILLAREAL,
GLORIA G. VILLARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WIT11 REQUESTS FOR DISCLOSURE                                                Page 4
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 5 of 10
                                                                        Electronically Submitted
                                                                                                  12/3/2018 9:38 AM
                                                                                                Hidalgo County Clerk
                                                                                        Accepted by: Ester Espinoza
                                         CL-18-6846-D

1100000( V30000000( AND DXXXX RXXXXVOCX, were invitees on Defendant MAC'Y'S

 properties, having gone there for the purpose of purchasing items sold by Defendant MACY'S.

      During the course of Plaintiffs visit on Defendant's premises, GLORIA G. VILLAREAL,

YXXXXXX VX)000000C AND WOOOL 1000(XXXXX, were caused to suffer injury by the

sudden shaking and/or jerking motion of the escalator which was the direct result of an unreasonably

dangerous condition on Defendant MACY'S premises and Defendant SCHINDLER ELEVATOR

CORPORATION'S equipment. Defendant MACY'S and Defendant SCHINDLER ELEVATOR

CORPORATION knew or should have known of the unreasonably dangerous condition of the

escalator that posed an unreasonable risk of harm. Defendant MACY'S and Defendant

SCHINDLER ELEVATOR CORPORATION had a duty to use ordinary care to ensure the

escalator did not present a danger to Plaintiffs. This duty includes duty to inspect and the duty to

warn or to cure. Defendant MACY'S and Defendant SCHINDLER ELEVATOR

CORPORATION failed to adequately warn. the Plaintiffs, GLORIA G. VILLAREAL,

1000000E V3000(XXXX AND D3000112300000(XX, of the condition of the escalator and

failed to make the condition reasonably safe and neither corrected nor warned the Plaintiffs, of it.

Plaintiffs, GLORIA G. VILLAREAL, YXXXXXX VXXXXXXXX AND DX/00(

R70000000‘, did not have any knowledge of the dangerous condition and could not have

reasonably been expected to discover it. Defendant MACY'S and Defendant SCHINDLER

ELEVATOR CORPORATION'S breach of duty proximately caused injury to Plaintiffs.

Defendant MACY'S AND SCHINDLER ELEVATOR CORPORATION'S failure to correct the

condition or to warn Plaintiffs, GLORIA G. VILLAREAL, YXXXXXX V./0000000C AND


GLORIA G. VILLARREAL
PLAINTIFFS' ORIGINAL PETITION AND
;DRY DEMAND WITH REQUESTS FOR DISCLOSURE                                            Page 5
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 6 of 10
                                                                        Electronically Submitted
                                                                                                  12/3/2018 9:38 AM
                                                                                                Hidalgo County Clerk
                                                                                        Accepted by: Ester Espinoza
                                         CL-1 8-6846-D

D7000C R300000CXX, constituted negligence, and such negligence was a proximate cause of the

occurrence in question and the Plaintiffs' resulting injuries. Plaintiffs' conduct was reasonable and

prudent at all times and did not in any way contribute to the incident and ensuing injuries suffered

by Plaintiffs, GLORIA G. VILLAREAL, YXXXIOCX V)000000CX AND DXXXX

R10000000C.

                                      VIII.
                  INJURIES TO PLAINTIFF GLORIA G. VILLARREAL

      Plaintiff GLORIA G. 'VILLARREAL sustained the following serious bodily injuries as a

direct and proximate result of the Defendant's negligence:

      a.       Neck pain;

      b.       Upper-back pain;

      c.       Low-back pain;

      d.       Mid-back pain;

      e.       Right shoulder pain;

      f.       Right elbow pain;

      g.       Right arm pain;

      h.       Right knee pain;

      i.       Headaches; and

      j.       Plaintiff, GLORIA G. VILLAREAL suffered injuries to her body in general.

                                    IX
             INJURIES TO MINOR PLAINTIFF InOCXXXX 11000CXXXX

      Minor plaintiff YXXXXXX A/70000000C sustained the following serious bodily injuries

as a direct and proximate result of the Defendant's negligence:
GLORIA G. VIUARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                             Page 6
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 7 of 10
                                                                        Electronically Submitted
                                                                                             12/3/2018 9:38 AM
                                                                                           Hidalgo County Clerk
                                                                                   Accepted by: Ester Espinoza
                                       CL-1 8-6846-D

      a.      Head Injury

      b.      Hip pain;

      c.      Lower-back pain;

      d.      Right arm pain;

      e.      Left shoulder pain;

      f.      Right leg pain;

      g.      Left leg pain;and

      f.      Minor plaintiff Y3000CXX VXXXIOOM suffered injuries to her body in general.

                                              XL
               INJURIES TO MINOR PLAINTIFF WODOCR20000000C

Minor plaintiff D1000E 11301100000C sustained the following serious bodily injuries as a direct

and proximate result of the Defendant's negligence:

      b.      Left arm pain;

      b.      Left wrist pain;

      c.      Left wrist pain;

      d.      Right leg pain;

      e.      Right Knee pain

      f.      Left Knee pain

      g     , Head injury; and

      f       Minor plaintiff DICVOt RXXXXXXVi suffered injuries to his body in general.


                 DAMAGES TO PLAINTIFF GLORIA G. VILLAREAL
                              INDIVIDUALLY

GLORIA G. VILLARREAL
PLAINTIFFS' ORIGINAL PETITION AND
3URY DEMAND WITH REQUESTS FOR DISCLOSURE                                        Page 7
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 8 of 10
                                                                        Electronically Submitted
                                                                                                12/3/2018 9:38 AM
                                                                                              Hidalgo County Clerk
                                                                                      Accepted by: Ester Espinoza
                                        CL-1 8-6846-D

    As a direct and proximate result of the negligence of Defendant as alleged herein, Plaintiffs
GLORIA G. 'VILLAREAL INDIVIDUALLY suffered the following damages:

      a.      Past medical expenses in the amount in excess of the jurisdictional limits of the
              Court;

      b.       Future medical expenses in excess ofthe minimum jurisdictional limits ofthe Court;

      c.      Past and future physical disability in excess of the minimum jurisdictional limits of
              the Court;

      d.      Past and future pain and suffering in excess of the minimum jurisdictional limits of
              the Court; and

      e.      Past and future mental anguish in excess of the minimum jurisdictional limits of the
              Court.

                                    KM.
                 DAMAGES TO PLAINTIFF GLORIA G. VILLAREAL
               INDIVIDUALLY AND AJNIF OF YXXXXXX VXXXXXXMC

      As a direct and proximate result of the negligence of Defendant as alleged herein, Plaintiffs

GLORIA G. VILLAREAL INDIVIDUALLY AND A/N/F OF YXXXXXX V30001XXXX

suffered the following damages:

      a.      Past medical expenses in the amount in excess of the jurisdictional limits of the
              Court;

      b.      Future medical expenses in excess ofthe minimum jurisdictional limits of the Court;

      c.      Past and future physical disability in excess of the minimum jurisdictional limits of
              the Court;

      d.      Past and future pain and suffering in excess of the minimum jurisdictional limits of
              the Court; and

      e.      Past and future mental anguish in excess of the minimum jurisdictional limits of the
              Court.




GLORIA G. VILLARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                           Page 8
   Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 9 of 10
                                                                       Electronically Submitted
                                                                                                   12/3/2018 9:38 AM
                                                                                                 Hidalgo County Clerk
                                                                                         Accepted by: Ester Espinoza
                                          CL-1 8-6846-D

                                       XIV.
                    DAMAGES TO PLAINTIFF GLORIA L. VILLAREAL
                   INDIVIDUALLY AND A/N/F OF DIOCXX RXMOCXXXX

       As a direct and proximate result of the negligence of Defendant as alleged herein, Plaintiffs
GLORIA L. VELLAREAL INDIVIDUALLY AND A/N/F OF D2OLXX RX/000000i suffered
the following damages:
       a.      Past medical expenses in the amount in excess of the jurisdictional limits of the
               Court;

       b.        Future medical expenses in excess of the minimum jurisdictional limits of the Court;

       c.        Past and future physical disability in excess of the minimum jurisdictional limits of
                 the Court;

       d.        Past and future pain and suffering in excess of the minimum jurisdictional limits of
                 the Court; and

       e.        Past and future mental anguish in excess of the minimum jurisdictional limits of the .
                 Court.


                                           XV.
                                 REOUESTS FOR DISCLOSURE

       Pursuant to the provisions of Rule 194, Texas Rules of Civil Procedure, you are requested

to disclose, within (50) days of service of this request, the information or material described in

194.2(a)-(j ).

                                                XVI.
       Plaintiffs requests pre-judgment and post-judgment interest as allowed by law.


                                          JURY DEMAND

       Pursuant to Rule 216, Texas Rules of Civil Procedure, Plaintiffs request a trial by jtuy as

to all issues of fact presented herein.



GLORIA G. VILLARREAL
PLAINTIFFS' ORIGINAL PETITION AND
JURY DEMAND WITH REQUESTS FOR DISCLOSURE                                              Page 9
  Case 7:19-cv-00023 Document 1-2 Filed on 01/22/19 in TXSD Page 10 of 10
                                                                       Electronically Submitted
                                                                                                  12/3/2018 9:38 AM
                                                                                              • Hidalgo County Clerk
                                                                                        Accepted by: Ester Espinoza
                                          CL-18-6846-0

                                     PRAYER,FOR RELIEF

      FOR THE REASONS STATED, Plaintiffs pray that Defendant be cited in terms of law to

appear and answer herein and that Plaintiffs, upon final trial of this cause, have judgement against

Defendants, jointly and severely, in an amount in excess of the minimum jurisdictional limits ofthis

Court, for costs of Court, pre-judgment and post-judgment interest at the highest legal rate, for the

recovery of actual damages, and for such other and further relief, both special and general, to which

Plaintiffs may be entitled, in that of law and equity.



                                               Respectfully Submitted,

                                               RUBIO &




                                               pro      rgTarnr174111101•0°' -
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                                               ATTORNEYS FOR PLAINTIFFS




GLORIA G. VILLARREAL
PLAINIIFFS' ORIGINAL PETITION AND
AIRY DEMAND WITH REQUESTS FOR DISCLOSURE                                            Page 10
